64 F.3d 661
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Robert Earl SWEENEY, Defendant-Appellant.
    No. 95-6466.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 27, 1995.Decided:  Aug. 17, 1995.
    
      Robert Earl Sweeney, Appellant Pro Se.
      William Corley Lucius, Assistant United States Attorney, Greenville, SC, for Appellee.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. Sec. 2255 (1988) motion.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge, and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Sweeney, Nos.  CR-89-285;  93-1552-6-17AK (D.S.C. Mar. 2, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.*
    
    AFFIRMED
    
      
        *
         In light of this disposition, Sweeney's motion to stay the proceedings is hereby denied
      
    
    